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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   TINA FRANKLIN, Individually and on
   behalf of all persons similarly situated,
                                                        Case No.
           Plaintiff,

   v.                                                   JURY TRIAL REQUESTED

   TSCHETTER SULZER, P.C.

           Defendant




                                  CLASS ACTION COMPLAINT

         Plaintiff Tina Franklin (“Plaintiff” or “Franklin”), by and through her attorneys, Woodrow

  & Peluso, LLC and Cadiz Law, LLC, hereby brings this Class Action Complaint (“Complaint”)

  against Defendant Tschetter Sulzer, P.C. (“Defendant” or “Tschetter”) seeking a judgment

  awarding statutory damages to Plaintiff and a class of all others similarly situated for Tschetter’s

  serial violations of the Fair Debt Collections Practices Act (“FDCPA”), 15 U.S.C. § 1692 et. Seq.

  Specifically, Tschetter uses false representations or deceptive means to collect or attempt to collect

  debts allegedly owed by Franklin and other tenants by knowingly mischaracterizing the amount of

  debt owed at the time of filing a Complaint thereby inflating the amount tenants understood they

  would have to pay to exercise their right to cure to avoid eviction.

         Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself and

  her own acts and experiences, and, as to all other matters, upon information and belief, including

  investigation conducted by her attorneys.



                                               PARTIES
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         1.      At all times relevant for the purposes of this litigation, Plaintiff, Tina Franklin, was

  a resident of the City and County of Denver, Colorado. Plaintiff is a consumer within the meaning

  of the FDCPA, 15 U.S.C. § 1692(a)(3), because she allegedly accrued overdue rent for her primary

  residence, which is a debt for personal, family, or household purposes.

         2.      Defendant Tschetter Sulzer, P.C. is a Colorado Professional Corporation with a

  principal place of business at 3600 S. Yosemite St., Ste. 828, Denver, CO 80237. Tschetter is a

  debt collector within the meaning of the FDCPA, 15 U.S.C. § 1692(a)(6). Among other reasons,

  it “uses any instrumentality of interstate commerce or the mails in any business the principal

  purpose of which is the collection of any debts”, and it “regularly collects or attempts to collect,

  directly or indirectly, debts owed or due or asserted to be owed or due another.”

                                   JURISDICTION AND VENUE

         3.      The Court has subject matter jurisdiction over the Plaintiff’s claim because it raises

  a question under the FDCPA, a federal statute.

         4.      Venue is proper in this court as the Defendant’s conduct complained of herein was

  directed at the Plaintiff while she resided in the City and County of Denver, Colorado. Tschetter

  does business throughout the State of Colorado and is headquartered in this District.

                                   STATUTORY FRAMEWORK

         5.      As an entity that regularly “uses any instrumentality of interstate commerce or the

  mails in any business the principal purpose of which is the collection of any debts, or who regularly

  collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

  due another,” Tschetter is a “debt collector” under the Fair Debt Collections Practices Act

  (“FDCPA”). 15. U.S.C. § 1692a(6).

         6.      As such, Tschetter may not employ false, deceptive, or misleading means or engage
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  in unfair practices when collecting debt. Id. § 1692(e) & (f).

         7.      The FDCPA is a strict liability statute, and as such litigants are required only to

  show that one violation of a provision of the FDCPA occurred to be entitled to summary judgment.

  See O'Connor v. Check Rite, Ltd., 973 F. Supp. 1010, 1020 (D. Colo. 1997).

                              COMMON FACTUAL ALLEGATIONS

         8.      Tschetter advertises itself as “Colorado’s Leading Landlord Advocacy Firm”, that

  it is “#1 in Colorado Evictions”, and that it has an “intimate understanding of the rental housing

  industry” and an “efficient approach to the eviction process … to process evictions quickly and

  effectively”. Tschetter “guarantees … eviction cases are collection cases from day one.” See

  “Tschetter Website Screenshots,” true and accurate copies of which are attached hereto as Ex. 1;

  see also https://thslawfirm.com/.

         9.      The Firm’s practice concentrates on filing eviction lawsuits against thousands of

  consumer tenants in Colorado each year for the non-payment of rent allegedly due. Tschetter seeks

  judgments for possession and/or money, commonly referred to as “eviction-collection lawsuits”,

  “eviction-collection cases”, or “eviction-collection litigation” on behalf of its residential landlord

  and property manager clients.

         10.     Tschetter routinely uses instrumentalities of interstate commerce and the mails to

  pursue this eviction-collection litigation.

         11.     Tschetter includes the following language at the bottom of complaints in eviction-

  collection lawsuits the Firm files against consumer tenants: “This is a communication from a debt

  collector and this is an attempt to collect a debt. Any information obtained will be used for that

  purpose.”

         12.     Upon information and belief, Tschetter charges most of its landlord clients a
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  standard, flat fee of approximately $283.00 (“Eviction Legal Fee”) to file and serve an eviction-

  collection lawsuit that includes “the preparation, filing, and serving of the Summons and

  Complaint; the attorney’s time for the initial return date, and post judgment (Writ of Restitution)

  paperwork”, but does not include further advocacy in the event a consumer tenant files a responsive

  pleading. In such instances, the Firm bills its landlord clients at its hourly rate in addition to its

  Eviction Legal Fee to provide further legal representation. See Ex. 2, 2-3 – Eviction Procedures.

         13.     Plaintiff’s Exhibit 2 is a true and accurate copy of Tschetter’s “Eviction

  Procedures.”

         14.     Upon information and belief, Tschetter is aware that its clients mark-up the Firm’s

  Eviction Legal Fee of $283.00 before passing it on to consumer tenants, often for the marked-up

  amount of $308.00. See Ex. 3 – Franklin Ledger (Feb. 25, 2022…Legal Fees.)

         15.     Upon information and belief, Tschetter is aware that its clients routinely bill

  consumer tenants for the marked-up Eviction Legal Fee before Tschetter has filed an eviction-

  collection case against the consumer tenant and/or before Tschetter has obtained a money

  judgment against the consumer tenant that includes an award of attorney fees and costs or

  otherwise prevailed in litigation against the consumer tenant.

         16.     Upon information and belief, Tschetter is aware that its clients characterize the

  Firm’s marked-up Eviction Legal Fee in a manner that leads consumer tenants to believe the

  assessment is a dollar-for-dollar pass through of legal fees and costs charged by the Firm for filing

  an eviction-collection case against the consumer tenant. For example, the Eviction Legal Fee is

  labeled “Charge – Legal Fees…$308.00” on the Plaintiff’s ledger. See Id.

         17.     Upon information and belief, Tschetter is aware that its clients pass through billing

  of the marked-up Eviction Legal Fee that creates the misunderstanding with consumer tenants that
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  they are liable for the entirety of the Fee before their landlord has prevailed against them in a court

  of law.

            18.   Upon information and belief, Tschetter routinely reviews and advises its residential

  landlord clients in the drafting of their form residential lease terms and their standard “Demand

  for Rent or Possession” required under Colorado law to initiate the eviction process for the

  nonpayment of rent.

            19.   Upon information and belief, Tschetter recommends that its landlord clients use the

  form “Demand for Rent or Possession” prepared by the Firm.

            20.   Upon information and belief, the vast majority of Tschetter’s landlord clients use

  the Firm’s standard “Demand for Rent or Possession” template form, as revised by the Firm from

  time to time.

            21.   Tschetter’s “Demand for Rent or Possession” template form provides a blank for

  its landlord clients to insert amounts due for late fees, attorney fees, and court costs due that a

  tenant must pay in full to avoid eviction. See Ex. 4 – Tschetter’s Demand for Rent or Possession

  Form.

            22.   Upon information and belief, Tschetter is aware that Colo. Rev. Stat. 38-12-

  105(1)(e) does not allow a tenant to be evicted for failure to pay one or more late fees.

            23.   Upon information and belief, Tschetter is aware that Colo. Rev. Stat. 38-12-105(7)

  does not allow a landlord to classify a late fee as rent for the purposes of Colo. Rev. Stat. 13-40-

  104(1)(d), the Colorado statute that provides Colorado renters with the right to pay rent and rent

  alone for up to ten days after being notified of their late status so as to avoid the escalation of the

  eviction process.

            24.   Upon information and belief, Tschetter is aware that Colo. Rev. Stat. 38-12-
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  801(3)(b) disallows fee-shifting clauses in a lease that award attorney fees and court costs to a

  party unless the clause is two-way and triggered after a party prevails in a court dispute.

          25.     Upon information and belief, Tschetter is aware that Colo. Rev. Stat. 13-40-115(4)

  requires a landlord to accept payment in full of all lawful amounts owed at any time prior to a

  judge issuing judgment for possession in an eviction case for non-payment.

          26.     Upon information and belief, Tschetter, with the knowledge described supra, seeks

  to collect the marked-up, mischaracterized Eviction Legal Fee and Late Fees from consumer

  tenants as a matter of standard practice in eviction-collection litigation by including the Eviction

  Legal Fee and Late Fees in the amount stated as owed in the complaints it files in eviction-

  collection litigation and/or the form Demand for Rent or Possession it files as exhibits thereto.

  Despite this, Tschetter’s Form Complaint also requests an award of its reasonable attorneys’ fees

  and costs for its landlord clientele. See Ex. 5, ¶¶ 4, 5.

          27.     Tschetter uses its standardized, form Complaint and completed, form Demand for

  Rent or Possession in thousands of eviction-collection lawsuits it files annually against consumer

  tenants in Colorado.

          28.     Tschetter’s form Complaint pleads numerous grounds upon which to allege an

  unlawful detainer has occurred in the alternative and is virtually always signed as filed by the

  Firm’s senior managing partner to the tune of thousands of eviction collection cases per year, so

  that it need not be customized based on the facts at issue in a particular eviction case and to

  otherwise facilitate Tschetter’s bulk discount, collections business model.

          29.     The below is a true and accurate copy of a portion of Tschetter’s form Complaint:
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         See Ex. 5.

         30.     Tschetter’s form Complaint misleads consumer tenants as the allegations and

  collection litigation initiated against them by pleading a near exhaustive list of the bases for an

  unlawful detainer and money judgment claim in the alternative and are likely to lead a reasonable

  consumer tenant to be unclear as to the nature, amount, and basis of the collection litigation and

  any purported debt.

         31.     Other than variations based on the identities of the landlord, consumer tenant, dates,

  and location of the rental property, Plaintiff’s Exhibit 5 is a true and accurate example of

  Tschetter’s form “Complaint Unlawful Detainer and Money Claim.”

         32.     Plaintiff’s Exhibit 4 is a true and accurate copy of Tschetter’s standard “Demand

  for Rent or Possession” dated February 7, 2022 and marked as revised January 6, 2022.

         33.     Upon information and belief, Tschetter maintains a policy and practice of only

  requiring its landlord clients to fax or email the Firm a copy of the statutory demand for rent or
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  possession required by Colo. Rev. Stat. 13-40-104(1)(d) along with the Firm’s fax cover sheet -

  without reviewing or discussing the documents and facts pertinent to an individual consumer

  tenant - in order to file an eviction-collection lawsuit against a consumer tenant. See Ex. 2 (“The

  following procedures apply after you send us your rent demand. If you are faxing the demand,

  please include the cover sheet with instructions, or include your instructions in your email if

  emailing.”).

         34.      Through its Form Complaint, the pleadings in eviction-collection lawsuits and

  other correspondence sent by Tschetter to consumer tenants because of past-due rent allegedly

  owed on the recipient's primary residence, Tschetter attempted to collect debts or purported debts

  from the Plaintiff using the mails or other means of interstate commerce.

         35.      Tschetter’s business model and standard practices in pursuing collection litigation

  - including utilizing its unfair, unconscionable, and deceptive form Complaint and pursuing the

  collection of its marked-up and mischaracterized Eviction Legal Fee and Late Fees from consumer

  tenants are directly damaging to the Plaintiff and prospective class because, for one, they mislead

  tenants as to the amount they must pay in order to avoid eviction and stay housed.

         36.      Tschetter attempted to collect debts or purported debts from the Plaintiff using the

  mails or other means of interstate commerce.

                         FACTS SPECIFIC TO PLAINTIFF FRANKLIN

         37.       Ms. Tina Franklin leased an apartment in 2021 at the Mint Urban Infinity

  Apartment complex from Glendale Properties I, LLC in Denver, Colorado, where she resided until

  May 12, 2022.

         38.       According to the terms of the lease, Ms. Franklin was responsible for monthly rent

  in the amount of $1,181.00, in addition to utilities. See Ex. 6 – Franklin Lease. Her landlord also
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  billed Ms. Franklin $30.00 monthly for parking, and $15.00 per month for storage space for most

  of her tenancy. See Ex. 3.

         39.      Glendale Properties I, LLC’s monthly charges were posted on the first of each

  month and Ms. Franklin routinely paid her full amount of monthly rent and utilities by the sixth of

  each month, often paying more than the total balance owed. Id.

         40.      Glendale Properties I, LLC posted Ms. Franklin’s February charges on February

  1, 2022, for a total due balance of $1,306.35. Id.

         41.      Ms. Franklin paid $1,000.00 on February 3, 2022, leaving a balance of $306.35.

         42.      Glendale Properties I, LLC issued a Demand for Rent or Possession on February

  7, 2022 giving her ten days (until February 17, 2022) to pay or surrender possession of her home.

  In addition to the balance of 306.35 for rent, the Demand alleged Ms. Franklin would have to pay

  $50.00 in late fees effective February 11, 2022 and attorney fees of $308.00 upon the filing of an

  eviction to avoid eviction. Ex. 4.

         43.      Ms. Franklin was subsequently charged late fees in the amount of $50.00 on

  February 11th. Ex. 3.

         44.      Ms. Franklin paid $365.35 to Glendale Properties I, LLC on February 24, 2022,

  the entire remaining balance due from rent, utilities, other property fees, and late fees.

         45.      In spite of this payment, Tschetter filed an eviction collection lawsuit against Ms.

  Franklin on behalf of her landlord, Glendale Properties I, LLC, on February 25, 2022 asserting

  claims for both unlawful detainer and a money claim for alleged past due rent and other amounts

  alleged due, including the Eviction Legal Fee, and an award of attorney’s fees and costs from the

  Denver County Court in case number 22C52541. See Ex. 5.

         46.      In its Complaint in Unlawful Detainer (“Complaint”), Tschetter asserted the
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   amount due as of the date of the complaint was $664.35. The $664.35 Tschetter asserted as due

   was comprised of past due rent in the amount of $306.35, the $50.00 late fee, and the $308.00 as

   a marked-up pass through of Tschetter’s attorney fees. In seeking this amount and incorporating

   the February 7, 2022 Demand as an exhibit to the Complaint, Tschetter incorporated and

   communicated the assertion of Glendale Properties I, LLC that Ms. Franklin owed late fees and

   attorney fees as of the date the Complaint was filed and that those fees were required to be paid in

   order to cure the payment default to avoid eviction.

          47.      By including the marked-up pass through of attorney fees in the Complaint,

   Tschetter sought collection of these fees in the form of a debt owed by Ms. Franklin, rather than

   by filing a motion for attorney fees following judgment being entered. Upon information and

   belief, Tschetter reserves the right and separately seeks an award of attorney fees in eviction

   collection matters when their landlord clients are the prevailing party in litigation.

          48.      The eviction collection case Tschetter filed against Ms. Franklin was scheduled

   for an initial return date with the Denver County Court on March 11, 2022.

          49.      Upon information and belief, the Firm affixes the signature of its senior managing

   partner, Mark Tschetter, to each and every eviction collection lawsuit it files, including the case

   against Ms. Franklin, through either its automated processes or its standard procedures carried out

   by its non-attorney staff.

          50.      Upon information and belief, Mr. Tschetter had no meaningful involvement in the

   preparation and filing of the eviction collection case against Ms. Franklin.

          51.      The amount sought by Tschetter in the eviction collection lawsuit filed against Ms.

   Franklin in case number 22C52541 included-and thereby communicated as owed to avoid

   eviction-the $308.00 assessment for the marked-up Eviction Legal Fee assessed prior to the case
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   having been filed filing or having been heard, thereby improperly bypassing any ruling of the court

   on the reasonableness of the fees as required by Colo. Rev. Stat. 38-12-801(3)(b).

           52.     The amount sought by Tschetter in the eviction collection lawsuit also improperly

   included-thereby communicating as owed to avoid eviction-the $50.00 late fee charge despite

   Colo. Rev. Stat. 38-12-105(1)(e) proscription against evicting a tenant for the nonpayment of a

   late fee.

           53.     Tschetter’s improper assertion that the Eviction Legal Fee and late fee were owed

   in the eviction collection litigation gave Ms. Franklin the false impression that those sums were

   owed and included in what she had to pay to avoid eviction.

           54.     Upon information and belief, Ms. Franklin received the pleadings in the mail,

   including Exhibit 5, on or around February 28, 2022.

           55.     Upon information and belief, Tschetter dismissed the eviction against Ms.

   Franklin in March of 2022

           56.     On or about March 1, 2022, Glendale Properties I, LLC credited Ms. Franklin’s

   account for $308.00, marked as “Crediting back Legal Fees.” See Ex. 3.

           57.     Ms. Franklin vacated her home and returned her keys to Glendale Properties I,

   LLC on March 17, 2022.

           58.     Defendant’s actions caused Ms. Franklin mental distress and anguish.

                                 CLASS ACTION ALLEGATIONS

           59.     Franklin brings this action in accordance with Rule 23(b)(3) of the Federal Rules

   of Civil Procedure and seeks certification of the following class:

           Class Definition: All present and former Tenants: (1) of residential rental

           properties located in Colorado, (2) whose landlords or property managers engaged
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           Tschetter to facilitate allegedly overdue rent collection through the initiation of

           eviction collection lawsuits, (3) where the Complaint in the eviction collection

           lawsuit included the marked-up Eviction Legal Fee, other attorney fees, or late fees

           in addition to any other amounts alleged due.

           60.      Plaintiff anticipates the need to amend the Class Definition following appropriate

   discovery regarding the size and contours of the alleged class.

           61.      Numerosity: On information and belief, the number of individuals in the class

   exceeds 100 persons. Class membership may be ascertained through reference to objective criteria

   that includes Tschetter’s business and eviction records, namely complaints and demands issued to

   consumer tenants.

           62.      Commonality and Predominance: There are questions of law and fact common to

   the class that will drive the litigation, including:

                   a.       Whether Defendant is a debt collector under the FDCPA;

                   b.       Whether Defendant made false representations about the character,

           amount, or legal status of any debt, particularly late fees, the Eviction Legal Fee and

           attorney fees and costs;

                   c.       Whether Defendant used false, deceptive, or misleading representations

           in connection with collection of a debt through its incorporation of the late fees, Eviction

           Legal Fee, and attorney fees and costs in its Complaint;

                   d.       Whether Defendant used unfair or unconscionable means to collect or

           attempt to collect a debt through its use of its inclusion of late fees, the Eviction Legal

           Fee and attorney fees and costs in the Complaint;

                   e.       Whether Defendant used unfair or unconscionable means to collect or
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          attempt to collect a debt through its standard policies and practices, and form Complaint,

          in initiating eviction collection lawsuits; and

                   f.        Such other common questions to be revealed through discovery and trial.

          63.       The claims of the named Plaintiff are typical of the claims of the class because she

   has the same interests—if Defendant’s request for amounts including late fees and attorney fees

   prior to a valid Court order to avoid eviction violated the FDCPA with respect to Plaintiff then it

   violated the FDCPA with respect to the other members of the class.

          64.       Plaintiff and her counsel will fairly and adequately represent the interests of the

   class. Plaintiff will vigorously pursue these claims. There are no known conflicts of interest

   between Plaintiff and members of the class, and Plaintiff is represented by attorneys who are

   experienced in consumer class actions, including class actions alleging violations of consumer

   statutes and landlord tenant matters.

          65.       Questions of law and fact common to class members predominate over any

   questions affecting only individuals. A class action is superior and manageable. To Plaintiff’s

   knowledge, there is current litigation of individual claims under separate provisions of the FDCPA

   pending against Defendant in this forum. Individual recoveries are too low to incentivize such

   litigation. A class action therefore will allow the claims to be efficiently adjudicated in a single

   forum promoting uniformity of judgments and judicial economy.

                                     FIRST CAUSE OF ACTION
                        Violation of the FDCPA on behalf of the Class against
                                         Defendant Tschetter

          66.       All preceding paragraphs are realleged and incorporated by reference as if set forth

   fully herein.

          67.       At all times relevant to this action, Tschetter was a debt collector within the
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   meaning of the FDCPA, 15 U.S.C. § 1692(a)(6). It engaged in a business through which it regularly

   collected and attempted to collect debts using the instrumentalities of interstate commerce, and its

   principal purpose was to collect debts, owed or due to another which were already in default.

          68.      Tina Franklin and all class members are consumers within the meaning of the

   FDCPA, 15 U.S.C. § 1692(a)(3), because the alleged overdue rent and other amounts were debts

   incurred for personal, family, or household purposes.

          69.      Tschetter’s practice of including late fees and attorney fees in the eviction

   collection Complaints as described above was deceptive in violation of the FDCPA, 15 U.S.C. §

   1692(e), (e)(2)(A) and (B), (3), (5), and (10).

          70.      Tschetter’s practice of including late fees and attorney fees in the eviction

   collection Complaints as described above was unfair and/or unconscionable for the purposes of

   the FDCPA, 15 U.S.C. § 1692(f), and (f)(1).

          71.     Defendant’s noncompliance with the FDCPA was intentional within the meaning

   of 15 U.S.C. § 1692k, as Defendant intended to and did in fact draft, send, and file the defective,

   unfair, and unconscionable Complaint and presented it to Plaintiff and the class members knowing

   that it was deceptive because, among other things, it (1) adopted and sought judgement on unlawful

   and void one-way fee shifting provisions of lease agreements contrary to Colo. Rev. Stat. 38-12-

   801(3)(b) and late fees contrary to Colo. Rev. Stat. 38-12-105(1)(e); and (2) mislead tenants into

   believing they owed attorney fees to landlords upon the filing of an eviction rather than to the

   prevailing party at the end of litigation, and late fees, in order to avoid eviction, upon information

   and belief, causing some tenants to pay such attorney fees before judgment was obtained and/or

   late fees to avoid eviction and/or causing tenants who were unable to pay such impermissible

   charges in addition to rent in order to cure to lose possession of their homes.
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          72.       Defendant violated the FDCPA, 15 U.S.C. § 1692d, §1692(e), (e)(2)(A) and (B),

   (3), (5), (9), and (10), and 1692(f), (f)(1), causing actual injuries to Plaintiff, as well as the entire

   class, thus making Tschetter liable to them in damages. These damages include, but are not limited

   to, statutory damages, increased stress and mental anguish, increased confusion, housing

   insecurity, and loss of validation and dispute rights.

                                          PRAYER FOR RELIEF

           Wherefore, Plaintiff respectfully request that this Court enter an Order of judgment:

           73.     Certifying the plaintiff class pursuant to F.R.C.P. 23(a) and (b)(3), appointing

   Plaintiff as the Class Representative and her lawyers as Class Counsel;

           74.      Granting an award of damages to Plaintiff and the Class pursuant to 15 U.S.C. §

   1692k, including statutory damages in the amount of $1,000 per named plaintiff; the lesser of

   $500,000 or 1% of the net worth of the Defendant; the costs of the action; and reasonable attorneys’

   fees; and

           75.      Awarding such other and further relief as this Court deems necessary,

   adequate and just.

     Respectfully submitted this 6th day of August 2022,

                                                            By: /s/ Steven L. Woodrow
                                                            One of her attorneys
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                                          Counsel for Plaintiff
